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Attorney for Defendant
KEVIN KIRKPATRICK


                     UNITED STATES DISTRICT COURT

                   EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,                 Case No.: 12-198 MCE

           Plaintiff,                     ORDER GRANTING DEFENDANT’S
                                          APPLICATION FOR WAIVER OF
     vs.                                  PERSONAL
                                          APPEARANCE_________________
KEVIN KIRKPATRICK,                        [Fed.R.Crim.P.43(b)(3)]

           Defendant


     Defendant’s application for waiver of personal appearance

is hereby granted and his personal presence in open court for

the hearing on any status conference, motion or other proceeding

in this case has been waived. Defendant Kirkpatrick remains

required to be personally present for any plea, sentencing, or

jury trial, and when so ordered by the Court.

     IT IS SO ORDERED.

May 5, 2015

                                 _____________________________________________
                                 MORRISON  N C. ENGLLAND, JR, C
                                                              CHIEF JUDG  GE
                                 UNITED ST TATES DISSTRICT COU  URT
